                   Case 19-13174                        Doc 14               Filed 06/04/19 Entered 06/04/19 14:42:58                                       Desc Main
                                                                              Document     Page 1 of 15
 Fill in this information to identify your case and this filing:

 Debtor 1                    Robert R. LeClercq, III
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Lisa A. Janik-LeClercq
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ILLINOIS

 Case number            19-13174                                                                                                                                   Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2604 Blackhawk Road                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        Wilmette                          IL        60091-0000                         Land                                       entire property?             portion you own?
        City                              State              ZIP Code                  Investment property                            $1,000,000.00                 $1,000,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Tenancy by the Entirety
        Cook                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $1,000,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
                 Case 19-13174                   Doc 14              Filed 06/04/19 Entered 06/04/19 14:42:58                                    Desc Main
                                                                      Document     Page 2 of 15
 Debtor 1        Robert R. LeClercq, III
 Debtor 2        Lisa A. Janik-LeClercq                                                                             Case number (if known)       19-13174

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Mercedes                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      ML 350                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2012                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                 120000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         approx. value
                                                                     Check if this is community property                                $8,000.00                  $8,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $8,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Miscellaneous Household Goods and Furnishings (approx.)                                                                         $4,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Five T.V.'s, one computer, one printer, two cell phones, two
                                    Kindles (approx. value)                                                                                                           $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Wine, paintings, posters and collectibles (approx. value)                                                                       $5,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
                  Case 19-13174                             Doc 14                 Filed 06/04/19 Entered 06/04/19 14:42:58                            Desc Main
                                                                                    Document     Page 3 of 15
 Debtor 1         Robert R. LeClercq, III
 Debtor 2         Lisa A. Janik-LeClercq                                                                                      Case number (if known)   19-13174

        Yes. Describe.....

                                            Golf Clubs , pool table and bicycles (approx.)                                                                               $200.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Necessary Wearing Apparel (approx.)                                                                                        $2,000.00


                                            Necessary Wearing Apparel (approx.)                                                                                        $2,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Wedding Band and Swatch Watch (approx.)                                                                                      $200.00


                                            Wedding Band and miscellaneous jewelry (approx.)                                                                             $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            One dog                                                                                                                          $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $14,400.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash
                                                                                                                                 (approx.)                               $200.00


Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
                 Case 19-13174                      Doc 14           Filed 06/04/19 Entered 06/04/19 14:42:58                              Desc Main
                                                                      Document     Page 4 of 15
 Debtor 1         Robert R. LeClercq, III
 Debtor 2         Lisa A. Janik-LeClercq                                                                          Case number (if known)   19-13174

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                          17.1.    Checking                     Northern Trust Bank (approx.)                                                    $0.00



                                          17.2.    Checking                     Bank of Lake Forest (approx.)                                              $1,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                 % of ownership:

                                                                                                                      40%
                                                                                                                   membershi
                                            AccessAlpha Worldwide, LLC                                             p interest %                                  $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                Institution name:

                                          IRA                                   Fidelity (approx. value)                                                   $1,000.00


                                          401(k)                                Northwestern University                                                      $398.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


Official Form 106A/B                                                     Schedule A/B: Property                                                                  page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
               Case 19-13174                     Doc 14              Filed 06/04/19 Entered 06/04/19 14:42:58                      Desc Main
                                                                      Document     Page 5 of 15
 Debtor 1       Robert R. LeClercq, III
 Debtor 2       Lisa A. Janik-LeClercq                                                                    Case number (if known)   19-13174

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                              Registered representative (FINRA Series 7 license)                                                         $0.00


 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                   Beneficiary:                         Surrender or refund
                                                                                                                                      value:

                                         Term Life Insurance Policy with
                                         Northwestern Mutual (Wife is the
                                         beneficiary). Approx. death benefit of
                                         $3,000,000                                              Wife                                                    $0.00


                                         Term Life Insurance Policy with
                                         Securian f/k/a Minnesota Mutual
                                         (husband is the beneficiary) Approx.
                                         death benefit is $250,000.                              Husband                                           $2,117.00


                                         Term Life Insurance Policy with
                                         Northwestern Mutual (husband is the
                                         beneficiary) Approx. death benefit of
                                         $130,937                                                Robert LeClercq                                         $0.00



Official Form 106A/B                                                    Schedule A/B: Property                                                           page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                 Case 19-13174                       Doc 14             Filed 06/04/19 Entered 06/04/19 14:42:58                                               Desc Main
                                                                         Document     Page 6 of 15
 Debtor 1        Robert R. LeClercq, III
 Debtor 2        Lisa A. Janik-LeClercq                                                                                           Case number (if known)       19-13174


                                             Term Life Insurance Policy with
                                             Northwestern Mutual (wife is the
                                             beneficiary). Approx. death benefit of
                                             $329,979                                                                 Lisa LeClercq                                                  $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $4,715.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
                  Case 19-13174                        Doc 14               Filed 06/04/19 Entered 06/04/19 14:42:58                                             Desc Main
                                                                             Document     Page 7 of 15
 Debtor 1         Robert R. LeClercq, III
 Debtor 2         Lisa A. Janik-LeClercq                                                                                                Case number (if known)   19-13174

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $1,000,000.00
 56. Part 2: Total vehicles, line 5                                                                            $8,000.00
 57. Part 3: Total personal and household items, line 15                                                      $14,400.00
 58. Part 4: Total financial assets, line 36                                                                   $4,715.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $27,115.00              Copy personal property total              $27,115.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,027,115.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                           Best Case Bankruptcy
                   Case 19-13174                 Doc 14              Filed 06/04/19 Entered 06/04/19 14:42:58                          Desc Main
                                                                      Document     Page 8 of 15
 Fill in this information to identify your case:

 Debtor 1                 Robert R. LeClercq, III
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Lisa A. Janik-LeClercq
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number           19-13174
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2604 Blackhawk Road Wilmette, IL                               $1,000,000.00                                    100%     735 ILCS 5/12-112
      60091 Cook County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2604 Blackhawk Road Wilmette, IL                               $1,000,000.00                             $30,000.00      735 ILCS 5/12-901
      60091 Cook County
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2012 Mercedes ML 350 120000 miles                                 $8,000.00                                $4,800.00     735 ILCS 5/12-1001(c)
      approx. value
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Wine, paintings, posters and                                      $5,000.00                                $1,800.00     735 ILCS 5/12-1001(b)
      collectibles (approx. value)
      Line from Schedule A/B: 8.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Necessary Wearing Apparel (approx.)                               $2,000.00                                     100%     735 ILCS 5/12-1001(a)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                 Case 19-13174                   Doc 14              Filed 06/04/19 Entered 06/04/19 14:42:58                             Desc Main
                                                                      Document     Page 9 of 15
 Debtor 1    Robert R. LeClercq, III
 Debtor 2    Lisa A. Janik-LeClercq                                                                      Case number (if known)     19-13174
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Necessary Wearing Apparel (approx.)                               $2,000.00                                      100%        735 ILCS 5/12-1001(a)
     Line from Schedule A/B: 11.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash (approx.)                                                      $200.00                                   $200.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Bank of Lake Forest                                     $1,000.00                                 $1,000.00        735 ILCS 5/12-1001(b)
     (approx.)
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     IRA: Fidelity (approx. value)                                     $1,000.00                                   $500.00        735 ILCS 5/12-1006
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): Northwestern University                                     $398.00                                   $398.00        735 ILCS 5/12-1006
     Line from Schedule A/B: 21.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Term Life Insurance Policy with                                   $2,117.00                                 $2,117.00        735 ILCS 5/12-1001(f)
     Securian f/k/a Minnesota Mutual
     (husband is the beneficiary) Approx.                                                  100% of fair market value, up to
     death benefit is $250,000.                                                            any applicable statutory limit
     Beneficiary: Husband
     Line from Schedule A/B: 31.2


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                   Case 19-13174                  Doc 14             Filed 06/04/19 Entered 06/04/19 14:42:58                        Desc Main
                                                                      Document     Page 10 of 15
 Fill in this information to identify your case:

 Debtor 1                  Robert R. LeClercq, III
                           First Name                         Middle Name              Last Name

 Debtor 2                  Lisa A. Janik-LeClercq
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

 Case number           19-13174
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                   Case 19-13174                    Doc 14            Filed 06/04/19 Entered 06/04/19 14:42:58             Desc Main
                                                                       Document     Page 11 of 15
 Fill in this information to identify your case:

 Debtor 1                   Robert R. LeClercq, III
                            First Name                           Middle Name        Last Name

 Debtor 2                   Lisa A. Janik-LeClercq
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS

 Case number           19-13174
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         AccessAlpha Worldwide LLC                                                             Schedule D, line
                                                                                                      Schedule E/F, line   4.5
                                                                                                      Schedule G
                                                                                                    Arnie Yusim Leasing, Inc




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                  Case 19-13174             Doc 14        Filed 06/04/19 Entered 06/04/19 14:42:58                               Desc Main
                                                           Document     Page 12 of 15


Fill in this information to identify your case:

Debtor 1                      Robert R. LeClercq, III

Debtor 2                      Lisa A. Janik-LeClercq
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number               19-13174                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Investment Sales                            Marketing Associate
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Access Alpha Worldwide, LLC                 Northwestern University

       Occupation may include student        Employer's address    444 West Lake Street, Suite
       or homemaker, if it applies.                                1700                                        633 Clark St
                                                                   Chicago, IL 60606                           Evanston, IL 60208

                                             How long employed there?         13 years                                  One month

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $         4,200.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $   4,200.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
             Case 19-13174             Doc 14         Filed 06/04/19 Entered 06/04/19 14:42:58                                    Desc Main
                                                       Document     Page 13 of 15

Debtor 1    Robert R. LeClercq, III
Debtor 2    Lisa A. Janik-LeClercq                                                                Case number (if known)    19-13174


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         4,200.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $          442.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $          202.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $            0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $            0.00
      5e.    Insurance                                                                     5e.        $              0.00     $        1,168.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $            0.00
      5g.    Union dues                                                                    5g.        $              0.00     $            0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $            0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $        1,812.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        2,388.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
      8e. Social Security                                                                  8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $                 0.00 + $          2,388.00 = $           2,388.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $           2,388.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Robert LeClercq expects to receive commissions in the future through his employer, but presently,
                             Mr. LeClercq has not been paid any sums from his employer since April 29, 2019.




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
             Case 19-13174                Doc 14          Filed 06/04/19 Entered 06/04/19 14:42:58                                    Desc Main
                                                           Document     Page 14 of 15


Fill in this information to identify your case:

Debtor 1                 Robert R. LeClercq, III                                                           Check if this is:
                                                                                                               An amended filing
Debtor 2                 Lisa A. Janik-LeClercq                                                                A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number           19-13174
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  16                   Yes
                                                                                                                                             No
                                                                                   Daughter                             19                   Yes
                                                                                                                                             No
                                                                                   Son                                  24                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             6,109.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           2,778.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             375.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             500.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
           Case 19-13174                  Doc 14          Filed 06/04/19 Entered 06/04/19 14:42:58                                      Desc Main
                                                           Document     Page 15 of 15

Debtor 1     Robert R. LeClercq, III
Debtor 2     Lisa A. Janik-LeClercq                                                                    Case number (if known)      19-13174

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                              1,038.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                145.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                300.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                               600.00
8.    Childcare and children’s education costs                                                 8. $                                             5,000.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               100.00
10.   Personal care products and services                                                    10. $                                                100.00
11.   Medical and dental expenses                                                            11. $                                                125.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                 200.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                               1,275.00
      15b. Health insurance                                                                15b. $                                                   0.00
      15c. Vehicle insurance                                                               15c. $                                                 300.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      19,345.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      19,345.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,388.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             19,345.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -16,957.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Robert LeClercq needs a medical procedure in the next 60 days that will cost the Debtors
                          approximately $10,000 in medical bills, which are not covered by third party payors. The source of funds
                          to pay this medical procedure is unknown.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
